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January 10, 2024

Honorable Tonianne J. Bongiovanni, U.S.M.J.
United States Court House

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Trenton, NJ 08608

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Re: — John Doe, et al. v. Columbia Group at Hamilton Phase H, LLC, et al.

Docket No.: 3:23-cv-02208

Dear Judge Bongiovanni:

On behalf of Defendants, 1 am writing to update Your Honor in accordance with the Text

Order entered on December 6, 2023.

With the consent of Plaintiffs counsel, Mr. Antoine, please extend the date for informing
Your Honor as to whether the case is ripe for a settlement conference for at least 1 week
(1/19/2024), Due to an unfortunate administrative error on my part, the progress on the internal
issues) I need to work through with our clients’ insurance carrier has been delayed, My apologies

to both the Court and Mr, Antoine.

Thank you for you consideration in this matter,

Respectfully yours,

{sf Richard WiBlusar
Richard D, Wilkinson

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